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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                Case No. 19-cr-20450-RNS
                                                                         3
  UNITED STATES,

         Plaintiff,
                                                                                X
  v.

  ALEX NAIN SAAB MORAN,

         Defendant.
                                              /

          ORDER GRANTING DEFENDANT’S SEALED UNOPPOSED MOTION
                 TO AMEND THE PROTECTIVE ORDER (D.E. 76)

         THIS MATTER came before the Court upon the Defendant’s Sealed Unopposed

  Motion to Amend the Protective Order (D.E. 76). Having considered the Defendant’s

  Motion, and being otherwise fully advised in its premises, it is hereby ORDERED and

  ADJUDGED that the Defendant’s Motion (ECF No. 81) is GRANTED:

         Defense counsel may transmit outside of the United States to a member of the

  defense team, described as PD in the Protective Order, a limited subset of discovery

  material related to transactions between Ecuadorian and Venezuelan companies

  allegedly involving Mr. Saab. No copies of the discovery materials will be made outside

  the United States and all discovery materials will be returned to the United States no later

  than January 7, 2022.

         DONE and ORDERED in Miami, Florida, on January 4, 2022.



                                            HONORABLE ROBERT N. SCOLA, JR.
                                            UNITED STATES DISTRICT JUDGE
                                            SOUTHERN DISTRICT OF FLORIDA
